Case: 4:19-cr-00896-JAR-JMB Doc. #: 50 Filed: 03/02/20 Page: 1 of 1 PageID #: 119


                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
        Plaintiff,                               )     No. 4:19CR896JARJMB
V.                                               )
                                                 )      FILED UNDER SEAL
JOHN MORRIS,                                     )
                                                 )
        Defendant.                               )

                                   ORDER FOR DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of this

Court endorsed hereon, the United States of America, via the United States Attorney for the

Eastern District of Missouri, hereby dismisses the indictment filed against John Morris without

prejudice.


                                              Respectfully submitted,

                                              JEFFREY B. JENSEN
                                              United States Attorney

                                              ls/Gregory M Goodwin
                                              GREGORY M. GOODWIN, #65929MO
                                              Special Assistant United States Attorney


Leave of Court is granted for the filing of the foregoing dismissal.




                "1Nb
Dated: This pl- aay of
                           •        , 2020.
